  Case 1:19-cr-00227-LJV-MJR         Document 1552-3        Filed 05/28/25    Page 1 of 1




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________

UNITED STATES OF AMERICA

            v.                                                   19-CR-227
                                                                 23-CR-37
PETER GERACE, JR.,

                    Defendant.
_____________________________________


                              CERTIFICATE OF SERVICE

      I hereby certify that on May 28, 2025, I electronically filed:

          1. Notice of Motion for Forfeiture of Property,
          2. Memorandum of Law in Support of United States’ Motion for Forfeiture of
             Property, and
          3. Proposed Preliminary Order of Forfeiture

with the Clerk of the Court using the CM/ECF system which will send notification of such
filing to the following CM/ECF participants in this case:

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Dated: May 28, 2025
       Buffalo, New York
                                                          s/Elizabeth M. Palma
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